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                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

TOSHIBA INTERNATIONAL           §
CORPORATION,                    §
                                §
               PLAINTIFF,       §
v.                              §
                                §
                                § No. 4:19-cv-04274
SUDHAKAR KALAGA,                §
an individual, VIJAYAGOWRI      §
“JAYA” KALAGA, an individual,   §
KIT CONSTRUCTION SERVICES, §
INC., KIT PROFESSIONALS, INC., §
SKBP VENTURES, LLC,             §
SVSRK ENTERPRISES, LLC,         § JURY TRIAL DEMANDED
RUDOLPH CULP, as independent    §
administrator of the ESTATE     §
OF PABLO D’AGOSTINO,            §
PD RENTALS, LLC,                §
JANUARY 22 1992, LLC,           §
VINOD VEMPARALA, an individual, §
V2V SOLUTIONS, LLC,             §
CHETAN VYAS, an individual,     §
ABRAHAM JOSEPH, an individual, §
and ONEPOINT, INC.,             §
                                §
               DEFENDANTS.      §

  PLAINTIFF’S RULE 26(a)(2) DISCLOSURE OF EXPERT WITNESSES

      Pursuant to Rule 26(a)(2) of the Federal Rules of Civil Procedure and the

Court’s Scheduling Order (ECF No. 65), Plaintiff Toshiba International Corporation

(“Plaintiff” or “TIC”) designates the following individuals as testifying experts in

this matter, as defined under Rules 702, 703, and/or 705 of the Federal Rules of
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Evidence. Plaintiff reserves the right to call at trial, the preliminary injunction

hearing, or any other proceeding in this matter, either by subpoena or deposition, all

persons listed within this Disclosure of Expert Witnesses, or within Plaintiff’s or

Defendants’ Initial Disclosures, as well as any supplements and amendments. In

addition, Plaintiff reserves the right to use all or a portion of such expert testimony

for factual purposes or other use at time of trial. Without attempting to delineate all

of the facts known by the expert, and without attempting to provide anything more

than an outline of the testimony, Plaintiff files this Disclosure of Expert Witnesses

and designates the following individuals as testifying expert witnesses in this matter.

                 I.    PLAINTIFF’S TESTIFYING EXPERTS

1.    Richard A. Pollack
      Berkowitz Pollack Brant Advisors + CPAs
      200 S. Biscayne Boulevard, 7th Floor
      Miami, FL 33131

Mr. Pollack will be TIC’s damages expert. His expert testimony will include the

following subjects: (1) the calculation of TIC’s loss and damages, (2) the calculation

of the profit received by the Defendants, (3) the calculation of the profit margins on

specific projects such as the projects identified in the Amended Complaint, (4) asset

tracing and the flow of funds between Defendants, and (5) the matters identified in

the Declaration of Richard Pollack filed in connection with the Motion for

Preliminary Injunction (ECF No. 126), including the flow of funds and dissipation

of cash and assets by the Kalaga Defendants. He will provide testimony on the
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financial aspects of the case, including his analysis of the financial records received

from banks and other financial institutions as well as from the Defendants. Since

discovery is ongoing, the subject matters of Mr. Pollack’s testimony may expand or

be modified as new issues are identified and new evidence is found.                His

qualifications and experience are detailed in the Curriculum Vitae attached to this

disclosure.

2.    Ben D. Nolan III, P.E., PSP
      Berkeley Research Group, LLC
      220 West Garden Street, Suite 505
      Pensacola, FL 32502

      Anamaria I. Popescu, PhD, P.E., PMP, PSP
      Berkeley Research Group, LLC
      8400 East Crescent Parkway
      Greenwood Village, CO 80111

      James French
      Berkeley Research Group, LLC
      400 Renaissance Center, 26th Floor
      Detroit, MI 48243

Mr. Nolan, Dr. Popescu, and Mr. French will provide expert testimony concerning

the following subjects: (1) whether certain construction projects managed by

Defendants KIT Construction Services, Inc., KIT Professionals, Inc., and OnePoint,

Inc. for Plaintiff TIC were either unnecessary, over-engineered, or never completed,

(2) what value and services KIT Construction Services, Inc., KIT Professionals, Inc.,

and OnePoint, Inc. provided TIC on TIC construction projects, and (3) whether the

profit margins KIT Construction Services, Inc., KIT Professionals, Inc., and
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OnePoint, Inc. received on these projects were commensurate with the value and

services they provided. They will also provide background testimony based on their

experience about the technical issues in construction. Since discovery is ongoing,

the subject matters of their testimony may expand or be modified as new issues are

identified and new evidence is found. Their qualifications and experience are

detailed in the Curricula Vitae attached to this disclosure.


3.    Kyle D. Workman, LEED A.P.
      Workman Construction Advisors, LLC
      4181 N FM 39
      Jewett, TX 75846

      James French
      Berkeley Research Group, LLC
      400 Renaissance Center, 26th Floor
      Detroit, MI 48243

Mr. Workman and Mr. French will provide expert testimony regarding the prevailing

rates of labor and materials in the Houston, Texas area for the construction projects

managed by Defendants KIT Construction Services, Inc., KIT Professionals, Inc.,

and OnePoint, Inc. for Plaintiff TIC and provide opinions about the industry-

standard reasonable range of profit margin on those projects, along with any

reasonable costs for work performed. Since discovery is ongoing, the subject

matters of their testimony may expand or be modified as new issues are identified

and new evidence is found. Their qualifications and experience are detailed in the

Curricula Vitae attached to this disclosure.
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                            II.    OTHER EXPERTS

      Plaintiff also designates any and all expert witnesses that have been

designated by other parties. Plaintiff reserves the right to elicit any expert opinion

or lay opinion testimony from any of the individuals previously identified by any

other party as persons with knowledge of facts relevant to this proceeding, which

testimony would be truthful, would be of benefit to the court and/or the jury

determining the factual issues in this lawsuit, and which would not violate any

existing Court order, the Federal Rules of Civil Procedure, or the Federal Rules of

Evidence.

      Plaintiff also reserves the right to call as an expert witness any of the expert

witnesses designated by any other party in this case. Plaintiff further reserves the

right to supplement this designation with additional designations of experts within

the time limits imposed by the Court or any alternations of same by subsequent Court

order or agreement of the parties, or pursuant to the Federal Rules of Civil Procedure

and/or the Federal Rules of Evidence.

               III.   RIGHT TO DESIGNATE/REDESIGNATE

      Plaintiff reserves the right to withdraw the designation of any expert and to

aver that any such previously designated expert will not be called as a witness at

trial, and to re-designate same as a consulting expert, who cannot be called by

opposing counsel.

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                                      Respectfully submitted,
Dated: April 30, 2020
                                   By: /s/ Justin Synhorst
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                                      Counsel to Toshiba International
                                      Corporation


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                        CERTIFICATE OF SERVICE

      I hereby certify that on April 30, 2020, I caused to be electronically filed

Plaintiff’s Rule 26(a)(2) Disclosure of Expert Witnesses with the Clerk of the

Court using the CM/ECF system, which will send notifications of filings to all

counsel of record.




                                        Respectfully submitted,


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